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                     Exhibit 4
                   Civil Action No. 25-0955 (CKK)
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


LEAGUE OF UNITED LATIN AMERICAN
CITIZENS, et al.,

                        Plaintiffs,
         v.
                                               Civil Action No. 25-0946 (CKK)
EXECUTIVE OFFICE OF THE
PRESIDENT, et al.,


                        Defendants.



DEMOCRATIC NATIONAL COMMITTEE,
et al.,

                        Plaintiffs,
         v.
                                               Civil Action No. 25-0952 (CKK)
DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,


                        Defendants.



LEAGUE OF WOMEN VOTERS
EDUCATION FUND, et al.,

                        Plaintiffs,
         v.
                                               Civil Action No. 25-0955 (CKK)
DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,


                        Defendants.


               Declaration of Tyler Sterling on Behalf of the National Association
                            for the Advancement of Colored People




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           My name is Tyler Sterling. I am over the age of 21 and fully competent to make this declaration.

Under penalty of perjury, I declare the following based on my personal knowledge:

           1.     Within the National Association for the Advancement of Colored People (“NAACP”), I

am the National Campaigns Director.

           2.     Through this role, I am familiar with, and receive updates about, the NAACP’s voting

activities through our state and regional conferences across the United States.

           3.     The NAACP, which was founded in 1909, is the largest and oldest civil rights

organization in the United States.

           4.     The NAACP is nonprofit, nonpartisan membership organization and has state and

regional conferences representing 48 states and District of Columbia, with nearly 2,200 units across the

United States.

           5.     The NAACP’s Youth & College Division, which includes high school and college

chapters, serves young people, particularly Black young people and other young people of color, across

the United States.

           6.     The NAACP has over two million supporters and members, including voters throughout

the United States.

           7.     The NAACP’s mission is to ensure educational, social, and economic equality of all

persons and to eliminate race-based discrimination.

           8.     One of the core parts of the NAACP’s mission is voting rights, which, among activities,

includes the development and implementation of robust non-partisan voter registration and education

efforts.

           9.     As part of the NAACP’s voter registration activities and efforts, we provide education and

assistance to both our members and the general public about voter registration to ensure that everyone

can participate in our democracy, including with targeted efforts to focus on potential registrants who


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would be first-time voters.

       10.     As part of the NAACP’s voter registration efforts, we have a formal partnership with

Vote.Org, which provides, among other things, access to the federal voter registration form, and directs

potential registrants to the NAACP website to register to vote using Vote.Org.

       11.      The access that Vote.Org provides to the federal voter registration form is important

because it provides a single method for registration in federal elections that can be used by eligible U.S.

citizens residing in almost every state.

       12.     While Vote.Org provides information about and access to other registration methods, such

as access to individual state online voter registration systems, the federal form is the only registration

form that can be used by most eligible citizens regardless of the specific state in which they live.

       13.     Several of our state and regional conferences throughout the United States also rely on

Vote.Org to direct people to register to vote.

       14.     Vote.Org is accessed by individuals from all over the country.

       15.     It is critical to the NAACP’s mission to ensure that all eligible U.S. citizens can register to

vote, and it is critical to our mission to provide this information that can be widely used.

       16.     If the federal voter registration form is changed so that documentary proof of citizenship

is required, the NAACP would have to conduct a comprehensive evaluation of what changes to

implement in their voter registration efforts throughout the country to help voters comply with this

requirement and then implement the necessary changes.

       17.     Such changes, which would seem to require submission of copies of passports or other

documents not readily available to all eligible persons, would be very burdensome compared to the

federal voter registration form currently provided by Vote.Org, which is user-friendly and encourages

more eligible people to vote.

       18.     Vote.Org only requires potential voters to fill out the required fields on the form and then


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they are provided with a completed registration form to sign and mail (the specific mailing address is

provided). No additional documentation is required.

       19.       If this federal voter registration form would no longer be accepted without documentary

proof of citizenship on Vote.Org, the NAACP will be required to develop a method of providing

potential voters with significant additional resources about how to comply. This will include developing

instructions about what documents are acceptable, how to obtain access to a photocopier, and how to

obtain access to those documents if a potential voter does not currently have access. It will be

burdensome to conduct the necessary research and develop these materials.

       20.       The NAACP will need to work directly with their state and regional conferences

throughout the United States to develop similar state specific assistance to voters.

       21.       The NAACP will be required to expend considerable resources to educate its members on

how to comply with proof of citizenship requirements.

       22.       The NAACP will also be required to expand resources to assist individuals it registers

through voting registration drives in acquiring and gathering the proof of citizenship requirement

documentation that would be necessary to become a registered voter.

       23.       Having to engage in this work will divert the NAACP away from its other core activities,

such as advocacy to improve election administration and education efforts about the importance of civic

participation.

       24.       Additionally, even with all the efforts that the NAACP will undertake to provide potential

voters with assistance with the required documentary proof of citizenship, many potential voters will be

less likely to take those necessary steps because of the additional potential burdens. Based on our

members and the communities we serve, people, including Black people disproportionately, lack birth

certificates, passports, and other potential documents that would be necessary with a documentary proof

of citizenship requirement.


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       25.      As a result, fewer people are likely to complete the voter registration process, which

harms the NAACP’s goal of ensuring that as many eligible U.S. citizens are registered to vote as

possible.

       26.      This harm will be immediate because Vote.Org is live and used by individuals every day.

       27.      To avoid the harm caused by providing incorrect or incomplete information about voter

registration, the NAACP will be required to implement immediate changes to its website or potentially

reconsider its partnership with Vote.Org for a period of time while it evaluates the best approach.




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       I, Tyler Sterling, declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge and recollection.

       Date: April 4, 2025                                ______Virginia ____,



                      _____________________________________
                      Tyler Sterling on behalf of the NAACP




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